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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


     GERDAU AMERISTEEL US INC.,

                  Plaintiff,

     v.                                         Case No. 8:20-cv-1256-KKM-AEP

     COMMERCE & INDUSTRY
     INSURANCE COMPANY,

                  Defendant.
                                               /


                                          ORDER

           This matter came before the Court for hearing on July 20, 2021 upon Plaintiff

     Gerdau Ameristeel US Inc.’s (“Plaintiff”) Motion to Compel (“Motion”) (Doc. 42).

     Plaintiff moved to compel production of documents responsive to its First Request

     for Production, to overrule objections made by Defendant Commerce & Industry

     Insurance Company (“Defendant” or “C&I”), to compel production of a more

     extensive privilege log and to compel production of a fully prepared corporate

     representative for deposition (Doc. 42). For the reasons stated on the record and

     summarized in this Order, Plaintiff’s Motion is granted in part and denied in part.

           Central to this litigation is the parties’ dispute regarding how to interpret

     Endorsement No. 1 in the relevant 2011-2012 C&I insurance policy, effective July

     1, 2011 and part of policy number 25030399 (“C&I Policy”) (Doc. 45-7 at Pgs. 33-

     34). The C&I Policy serves as an umbrella policy for Plaintiff’s commercial general
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     liability coverage by insurer Zurich American Insurance Company, which bears the

     same effective period and a policy number of 3878522-00 (“Zurich Policy”) (Doc.

     45-8). Specifically at issue is how to interpret the meaning of a $750,000 Self Insured

     Retention (“SIR”), as referenced below:




     (Doc. 45-7 at Pg. 33-34). 1 Plaintiff argues that the $750,000 SIR is a reference to

     the SIR applicable to the underlying Zurich Policy, while in contrast, Defendant

     argues that it is an additional SIR applicable to the C&I Policy. In light of the

     divergent interpretations, the parties’ course of dealings are relevant for purposes of

     Rule 26. Specifically, as to Request Number 1, the Court finds that the production

     sought is relevant to the parties’ course dealings. Notably, Plaintiff asserted during



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       The parties’ positions are more fully identified in their competing Motions for Summary
     Judgment (Docs. 45 and 46).


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     the July 20, 2021 hearing that it estimates that a total of only seven policies should

     exist between the parties. As such, the Court finds that the records sought under

     Request Number 1 are relevant and proportional to the needs of the case, and that

     there is no undue burden in the production of the estimated seven policies.

               Requests Numbers 2 and 9 essentially seek all documents relating to the

     claim, as well as all documents in the underwriting file. Such requests are too broad

     and go beyond the scope of a relevant inquiry into the meaning of the $750,000 SIR

     in Endorsement No. 1. Therefore, the only documents that need be produced as to

     those requests are any documents that refer to or relate to the SIR in the C&I Policy

     and the Zurich Policy for the Lanier claim. 2

               As to Request Number 3, Defendant has already produced the claim notes

     for the Lanier claim. Any further documents relating to all other claims are largely

     irrelevant and certainly not proportional to the needs of the case in interpreting the

     $750,000 SIR. The same applies to the loss runs sought by Request Number 24 and

     the communications and internal claims notes for other claims sought by Request

     Number 25.

               Accordingly, it is hereby

               ORDERED:

               1.      For the reasons stated at the hearing and in this Order, Plaintiff’s

     Motion to Compel (Doc. 42) is GRANTED IN PART AND DENIED IN PART.




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         The “Lanier claim” refers to the claim associated with the underlying wrongful death lawsuit.


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           2.     Defendant shall have twenty (20) days from the date of the hearing, up

     to and including August 9, 2021, to supplement its production as outlined in this

     Order. A status conference will be held on August 16, 2021 at 2:00 P.M. via Zoom

     where the undersigned will hear argument as to whether a continuation of the

     30(b)(6) deposition of Defendant’s corporate representative is necessary.

           DONE AND ORDERED in Tampa, Florida, on this 21st day of July, 2021.




     cc:   Counsel of Record




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